       Case: 3:18-cv-00580-jdp Document #: 34 Filed: 10/05/18 Page 1 of 1




 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF WISCONSIN
 COMPLIANT PHARMACY ALLIANCE
 COOPERATIVE,

              Plaintiff,                         CASE NO. 18-CV-580

       v.

 AMERISOURCEBERGEN DRUG CORPORATION
 and AMERISOURCEBERGEN CORPORATION,

              Defendants.



                              NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that the undersigned hereby appears as counsel for Plaintiff

Compliant Pharmacy Alliance Cooperative.

                                           /s/ Nicholas A. Gravante, Jr.
                                           Nicholas A. Gravante, Jr.
                                           BOIES SCHILLER FLEXNER LLP
                                           575 Lexington Avenue
                                           New York, NY 10022
                                           Tel: (212) 446-2300
                                           ngravante@bsfllp.com


Dated: October 5, 2018




                                             1
